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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
                                   ---------

UNITED STATES OF AMERICA,

                    Plaintiff,                  No. 1:08-cr-274

             vs.                                Hon. Paul L. Maloney

DONALD EARL CHARLES,

                Defendant.
_____________________________/

                                  ORDER FOR DISMISSAL

      The United States having filed a Motion to Dismiss pursuant to Rule 48(a) of the

Federal Rules of Criminal Procedure and by leave of court,

      IT IS HEREBY ORDERED that the Indictment against Donald Earl Charles is

DISMISSED WITHOUT PREJUDICE.




       February 26, 2010
Dated: _____________                        /s/ Paul L. Maloney
                                           _____________________________
                                           PAUL L. MALONEY
                                           United States District Judge
                                           Western District of Michigan
